Case 0:04-cr-60001-MGC Document 1373 Entered on FLSD Docket 05/05/20

FILED wie Lc,

 

vs.

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION

MAY 05 2008

STEVEN M. LARIMORE

 

 

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CASE 04~-60001—CR—COOKE A <<
Yo J *

THE UNITED STATES OF AMERICA,

Plaintiff,

MIAMI, FLORIDA

JANUARY 22,

2008

TUESDAY — 11:00 A.M.

ADHAM AMIN HASSOUN,

KIFAH WAEL JAYYOUSI,

JOSE PADILLA,
a/k/a "Ibrahim, "'
a/k/a “Abu Abdullah the Puerto Rican",
a/k/a "Abu Abdullah Al Mujahir",

Defendants.

 

APPEARANCES:

 

 

TRANSCRIPT OF SENTENCING PROCEEDINGS
BEFORE THE HONORABLE MARCIA G. COOKE,
UNITED STATES DISTRICT JUDGE

DAY 9

FOR THE GOVERNMENT:

RUSSELL KILLINGER, A.U.S.A.
BRIAN K. FRAZIER, A.U.S.A.
JOHN SHIPLEY, A.U.S.A.
STEPHANIE PELL, A.U.S.A.

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

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JUDGE IS CHAMBERED

CASE NO. 04-60001-CR
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